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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                    )
                                                             )                8:10CR186
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
CRYSTAL RAE HATFIELD,                                        )
                                                             )
                          Defendant.                         )



        This matter is before the court on the motion for an extension of time by defendant Crystal Rae Hatfield

(Hatfield) (Filing No. 31). Hatfield seeks an additional week in which to file pretrial motions in accordance with

the progression order. Hatfield's counsel represents that government's counsel has no objection to the motion.

Upon consideration, the motion will be granted.



        IT IS ORDERED:

        Defendant Hatfield's motion for an extension of time (Filing No. 31) is granted. Hatfield is given until

on or before June 25, 2010, in which to file pretrial motions pursuant to the progression order. The ends of

justice have been served by granting such motion and outweigh the interests of the public and the defendant

in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

June 18, 2010 and June 25, 2010, shall be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately

prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.

The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B)



        DATED this 18th day of June, 2010.

                                                             BY THE COURT:


                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
